              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,                                      )
                                                               )
                                      Plaintiff                )
                                                               )
                         v.                                    )       Criminal Action
                                                               )      No. 20-3041-05-CR-S-MDH
APRIL D. WHITE                                                 )
                                                               )
                                      Defendant.               )



                              ORDER APPOINTING COUNSEL

       ORDERED that, pursuant to the Criminal Justice Act (18 U.S.C. '3006A), Branden

Twibell, Attorney at Law, be, and is hereby, appointed to represent the defendant before the United

States Magistrate Judge and in all proceedings thereafter unless and until relieved by Order of the

United States District Court for the Western District of Missouri.



                                                  /s/ David P. Rush
                                              DAVID P. RUSH
                                              United States Magistrate Judge
Date: January 26, 2021




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